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                Exhibit B
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From:                               Aaron Etra <aaron@etra.com>
Sent:                               Thursday, August 20, 2020 2:37 PM
To:                                 nathannysdcchambers@nysd.uscourts.gov
Cc:                                 Steven Popofsky; Joshua K. Bromberg
Subject:                            Benthos Master Fund, Ltd. v.Etra. No. 20-cv-3384


Dear Judge Nathan,

Please accept this prop se filing in opposition to Petitioner’s request to lift the Rule 62(a).

In summary, there is no reason to deny me this entitlement.

I have never hidden assets or frustrated judgments in all my 79 years and have no intention of doing so now.

The Petitioners continue to restate allegations which were in fact considered and rejected by Judge Batts. Hundreds of
pages
of documents and from depositions were submitted for her to reach her judgment. They quote from a first hearing
when these lawyers tried to convince her of my wrongdoing.

I spent more money than I had, some $21,000, in fighting the court battle. Then they brought the arbitration, not against
a party to the business deal that went sour but against me, who they know has only been trying to assist the parties . I
had no more resources to fight this attempt to pin responsibility for a business loss on an innocent services provider.

If you honor would permit me to present what had been presented to Judge Batts, the true facts would come to light,
not the fallacious allegations totally accepted by the arbitrator. In all my years of practice, I have not been subject to this
undeserved harassment. Doing so, would stop this continuing miscarriage of justice and damage to a career and chance
to earn a livelihood.

At minimum, let me have what I am entitled to, which is the stay , which I would appreciate extending for a further 30
days so I can enlist whatever help I can find to support myself.

Thank you,
Aaron Etra




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